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                             -
A 0 245B (Rev 12/03) Sheet 1 Judgment in a Criminal Case


                           UNITED STA TES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIhlINAL CASE

                                                              CASE NUMBER: 8:05-cr-359-T-23TGW
                                                              USM NUMBER: 48094-018



h,lAURICE LXh,IONT POOLE
                                                              Defendant's Attorney: Mark P. Rimkh, pda

THE DEFENDANT:

X pleaded guilty to counts TWO and FOUR of the Indictment.
-
TITLE & SECTION                    NATURE O F OFFENSE                                    OFFENSE ENDED              COUNT

21 U.S.C. 9s 841(a)(l) and          Aiding and Abetting in the Possession with           November 19. 2003          T\.ir0
(b)(l)(C); and 18 U.S.C. 5 2        Intent to Distribute Cocaine Base

18 U.S.C. 5 922(g)(l)               Felon in Possessioil of a Firearm                    January 22. 2004           FOUR


        The defendant is sentenced as provided in pages 2 through 6 of this judgnlent. The sentence is imposed pursuant to [he
Sentencing Reform Act of 1984.

X Count ONE is dismissed in accordance with the plea agreement.
-
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessinents imposed by this judgment are fully
paid.
If ordcred to pay restitution. the defendant shall notify the court and United States Attorney of any material change in cconomic
circumstances.


                                                                                 Date of Imposition of Smtcncc: hlarch 27, 2006




                                                                                       STEVEN D. MERRYDAY
                                                                                                                                  I
                                                                                 UMTED STATES DISTRICT JZJDGE

                                                                                 DATE: March     aq,      2006
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. A 0 245B (Rev 12/03) Sheet 2 - Irnprisonmenr
Defendant:          h,IAUKICE LAhlONT POOLE                                                                        Judgment - Page   of 6
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                Thc defendant is hereby comn~ittedto the custody of the United States Bureau of Prisons to be
imprisoned for a total term of SEVENTY (70) MONTNS as to counts two and four of the indictment, both terms to run
concurrently.




-
X The court makes the following recommendations to the Bureau of Prisons: ( I ) that the defendant be placed in FCI kiiarni.
Florida. (2) that the defendant participate in the 500-Hour Comprehensive Drug Treatment Program, and (3) tliat the defendant
participate in the Life Skills program.



-
X The defend;iat is remanded to rhe custody of the United States Marshal.
- The defcndant shall surrender to the United States Marshal for this district.
          - at - a.m.1p.m. on -.
          - as norilied by the United Srates hlarsl~al.
- The defendant shall surrender for service of serltc~~ce
                                                       at 111e institution designated hy the I3urcau of Prisons.

          - before 2 p.m. on -.
          - as notified by the United States blarshal.
          - as notified by the Probation or Pretrial Services Office.




          I have executed this judgment as follows:




          Defendant delivered on                                                  to

at                                                                        , with a certified copy of this judgment.


                                                                                         Utiiled States Marshal

                                                                        By:
                                                                        Deputy Marshal
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A 0 23jB (Rev. 11103) Sheet 3 - Supervised Release
Defendant:        MAURICE LAMONT POOLE                                                                     Judgment - Page 3of 6
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                                                       SUPERVISED RELEASE

         Upon release from imprisonment. the defendant shall be on supen~isedrclease for a term of THIRTY-SIX (36) RlONTHS
as to counts two and four of the indictment, both terms to run concurrenrly.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the cusrody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime. and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 5 921.

S        The defendant shall not illegally possess a controlled substance. The dckndant shall refrain from any unlawful use of a
         controlled substance. Based on rhe probation officer's determination that additional drug urinalysis is necessary, the Courl
         authorizes random drug testing not to exceed 104 tests per year.

         The defendant shall cooperate in the collection of DNA as directed by thc probation oflicer.

         If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance wirh
         the Schedule of Payments sheet of this judgment.

         The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
         conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISIOK
         the defendant shall not leave the jitdicial dishict without the permission of the court or probation officcr:
         thc dcfcndant shall report to the probation officer and shall submit a tr~~thful
                                                                                       and complete written report ivithin thc first fivc days
         of each month;
         the defendant shall answcr truthfully all inquiries by the probation officer and follow thc instructions of the probation officer;
         thc dcfcndant shall support his or her dependents and nicct othcr family responsibilities;
         the defendant shall work regularly at a lawful occupation, unlcss cxcused by the probation officer for schooling, training, or othcr
         acceptable reasons:
         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
         the defzndant shall refrain from excessive use of alcohol and shall not purchasc. possess, use, distribute, or administcr any
         controlled substance or any paraphernalia related to any controlled substances, except as presm'bed by a physician:
         thc dcfcndant shall not frequent placcs whcrc controlled substances are illegally sold, used, distributed, or administered:

         the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any pcrson convicted of
         a felony, unless granted permission to do so by the probation officer:
         the defendant shall permit a probation officcr to visit him or her at any time at home or clsc\vhere and shall permit confiscation of
         any contraband obscnred in plain view of the probation officer:

         the defendant shall notify the probation officcr within seventy-hvo hours of being arrested or questioned by a la\v enforcement
         officer;
         thc defendant shall not enter into any agrecment to act as an informer or a spccial agent of a la\v enforcement agency without the
         permission of the court;
         as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioncd by the defendant's crlminal
         record or personal history or charactcristics and shall permit the probation officer to make such notifications and to confirni the
         defendant's compliance with such notification rcquiremcnt.
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A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

~efeidant:        MAURICE LAMONT POOLE                                                                Judgment - Page 4 of 6
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                                        SPECIAL CONDITIONS OF SUPERVISION

         The dcfcndant shall also con~plywith the lbllowing additional conditions of supervised release:

x
-        The defendant shall participate in a program (outpatient and/or inpatient) for treaunent of narcotic addiction or drug or alcohol
         dependency and follow the probation officer's instructions regarding the implementation of this court directive. This program
         may include testing for the detection of substance use or abuse not to exceed an amount determined reasonable by the
         Probation Office's Sliding Scale for Substance Abuse Treatment Services. Upon completion of a drug or alcohol dependency
         treatment program, the defendcantis directed to submit to testing for the detection of substance use or abuse not to exceed 104
         limes per year.

x
-        The defendant shall participate in a mental health treatment program and follow the probation officer's instructions regxrding
         the implementation of this court directive. Further, the defendant shall be required to contribute lo the costs of services for
         such treatment in an anlount determined reasonable by the probation officer based on ability to pay or availability of third
         party payment and in confom~~mce     with the Probation Office's Sliding Scale for blental Healrh Treatment Services.
x
-        The tlekndant shall participate in an ctlucational and vocational evaluation. and shall conlply ivith any recommendations
         rherrfrorn.
        Case 8:05-cr-00359-SDM-TGW Document 104 Filed 03/30/06 Page 5 of 6 PageID 241
A 0 345B (Rev 13/03) Sheet 5 - Criminal hlonetary Penalties

Defendant:         MAURlCE LAMONT POOLE                                                             Judgment - Page 5--      of 6
Case No.:          8:05-cr-359-T-23TGW

                                           CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                          FiIle                       Totiil Rcstitutio~i

         Totals:                                                $ waived


-        The determination of restitution Is deferred until -.              An Anle~ldedJudgmenr in a Crirnit~alCase ( A 0 245C) will
         be entered after such determinat~on.
         The defendant rllust make restitution (including community restitution) to the following payees in the all~ountlisted
         below.
         If the defendant makes a par~ialpayment, each payee shall receive an approximately proportionud payment, unlcss
         specified otherwise in the pr~orityorder or percentage pa ment colu~nnbelow. However, pursuant to 18 U.S.C. $
         3664(i), all non-federal victims must be paid before the dnited States.
                                                                                                              Priority Order or
                                                 *Total                        Amount of                      Perceritage of
                                               Amount of Loss               Restitution Ortlercd              Pavmcnt




                            Totals:           -
                                              S                             L

 -         Restitution mount ordered pursuant to plea agreement $
 -         The defendant shall pay interest on any fine or restitution of more than $2.500, unless the restitution or tine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 3 3612(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -         the interest requirement is waived for the - fine         - restitution.
         -         the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1 10A, and 113A of Title 18 for the offenses
cornnlitted on or after September 13, 1994, but before April 23, 1 96.  8
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Defendant:        PvlXURICE LAPvlONT 1'00LE                                                         Judgment - Page 6of 6
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                                                 SCEIEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total cri~lli~lal
                                                                              monetary penalties are due as follows:

-4.               Lump sum payment of $ 200.00 due immediately, balance due
                            -not later than                   ,   Or
                            - in accordance       - C,            D. - E or - F below: or
                  Payment to begin inm~ediately(may be combined with -C, - D, or -F below): or
C.       -        Payment in equal                 (e.g.. weekly. monthly, quarterly) install~nentsof S             over a
                  period of          (e.g., months or years). to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment: or
D.       -        Payment in equal                ( e . 8 , weekly, monthly, quarterly) installments of S             over a
                  period of             , (e.g., mon s or years) !o commence                       (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervlslon: or
E.                Payment during the term of supervised release will commence within                         (e.g.. 30 or
                  60 days) afrer release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special inslructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otlierwise, if this judgment imposes a period of                                     of criminal
monetarv penalties is due during it11 risonment. All crlminal monetary penalties,                                     made through the
                                        b
Federal Bureau of Prisons' Inmate inancial Responsibility Program, are made
The defendant shall receive credit for all payments previously made toward any criminal ~nonetarypenalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the Unitcd States:


Payments shall be applied in thc following ordcr: (1) assessment, (2) restitution prir~cipal,(3) restitution interest, (3) line principal,
(5) conmunity restilulion, (6) fine intcrcst (7) penalties, and (8) costs, including cost o f prosecution arid court costs.
